    Case: 1:20-cv-03490 Document #: 48 Filed: 08/13/20 Page 1 of 2 PageID #:236




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3490
                         Plaintiff,

       v.

Alucy and et al.,

                         Defendants.



                        NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

                     epadronics                                       222

              simply_best_deal                                        580

                       Alucy                                           2

                      Duevin                                           28

                      Yotown                                           77

                    Dream-faster                                       27

                     Regisbelle                                        59

                      Ochun                                            52

                JINGOU-tech                                            41
   Case: 1:20-cv-03490 Document #: 48 Filed: 08/13/20 Page 2 of 2 PageID #:237




               Elevin09                                     31

                Codiak                                      22

                Joyaria                                     42

               Salmue                                       64

                Cusco                                       24



DATED August 13, 2020                      Respectfully submitted,

                                           /s/ James A. Karamanis
                                           James A. Karamanis
                                           Barney & Karamanis, LLP
                                           Two Prudential Plaza
                                           180 N. Stetson, Ste 3050
                                           Chicago, IL 60601
                                           Tel.: 312/553-5300
                                           Attorney No. 6203479
                                           James@bkchicagolaw.com

                                           ATTORNEY FOR PLAINTIFF Ouyeinc Ltd.
